

Matter of Curley (2020 NY Slip Op 02706)





Matter of Curley


2020 NY Slip Op 02706


Decided on May 7, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 7, 2020

PM-72-20

[*1]In the Matter of Robert Patrick Curley, an Attorney. (Attorney Registration No. 2964690.)

Calendar Date: May 4, 2020

Before: Lynch, J.P., Clark, Mulvey, Aarons and Pritzker, JJ.


Robert Patrick Curley, Philadelphia, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Robert Patrick Curley was admitted to practice by this Court in 1999 and lists a business address in Philadelphia, Pennsylvania with the Office of Court Administration. Curley has applied to this Court, by affidavit sworn to January 30, 2020, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that Curley is ineligible for nondisciplinary resignation because he has failed to fulfill his attorney registration requirements for the most recent biennial period beginning in 2019 (see Judiciary Law § 468-a; Matter of Lee, 148 AD3d 1350 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1).
In reply to AGC's opposition, however, Curley has submitted supplemental correspondence, dated April 28, 2020, in which he asserts that he is now current in his New York attorney registration requirements. Furthermore, Office of Court Administration records likewise establish that Curley has duly registered and cured any preexisting registration delinquency. Accordingly, with AGC voicing no other substantive objection to his application, and having determined that Curley is now eligible to resign for nondisciplinary reasons (compare Matter of Tierney, 148 AD3d 1457, 1458 [2017]; Matter of Bomba, 146 AD3d at 1227), we grant the application and accept his resignation.
Lynch, J.P., Clark, Mulvey, Aarons and Pritzker, JJ., concur.
ORDERED that Robert Patrick Curley's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Robert Patrick Curley's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Robert Patrick Curley is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Curley is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Robert Patrick Curley shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








